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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                               §
In re:                         § Chapter 11
                               §
ALPINE SUMMIT ENERGY PARTNERS, § Case No. 23-90739 (MI)
INC., et al.                   §
                               § (Jointly Administered)
             Debtors. 1        §
                               §
                               §

                 NOTICE OF FILING OF FIRST AMENDED PLAN SUPPLEMENT
                             [Relates to Docket Nos. 1374 and 1435]

           PLEASE TAKE NOTICE that on January 24, 2024, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Notice of Filing of Plan Supplement

[Docket No. 1435] (the “Plan Supplement”) in support of the Liquidating Plan of Alpine Summit

Energy Partners, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket

No. 1374] (as modified, amended, or supplemented from time to time, the “Plan”).2

           PLEASE TAKE FURTHER NOTICE that the Debtors hereby file this first amended

Plan Supplement (the “First Amended Plan Supplement”) in support of the Plan.

           PLEASE TAKE FURTHER NOTICE that certain documents, or portions thereof,

contained in the First Amended Plan Supplement remain subject to ongoing review, revision, and

further negotiation among the Debtors and interested parties with respect thereto. The Debtors

reserve the right to alter, amend, modify, or supplement any document in the First Amended Plan



1
    The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
    number, are Alpine Summit Energy Partners, Inc. (3755), HB2 Origination, LLC (6760), Ageron Energy II, LLC
    (1436), Ironroc Energy Partners, LLC (9801), Ageron Ironroc Energy, LLC (N/A), Alpine Summit Energy Investors,
    Inc. (4428), and Alpine Carbon, LLC (N/A). The location of the Debtors’ service address is: P.O. Box 158689,
    Nashville, TN 37215.

2
    Capitalized terms not otherwise defined herein have the same meanings as set forth in the Plan.

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Supplement in accordance with the Plan at any time before the Effective Date of the Plan or any

such other date as may be provided for by the Plan or by order of the Court.

Dated: February 11, 2024          Respectfully Submitted,
       Houston, Texas
                                  /s/ Eric M. English
                                  PORTER HEDGES LLP
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                                  M. Shane Johnson (TX 24083263)
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                                  jkeefe@porterhedges.com

                                  Counsel for Debtors and Debtors in Possession




                                      Certificate of Service

        I certify that on February 11, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                     /s/ Eric M. English
                                                     Eric M. English




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
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                               §
In re:                         § Chapter 11
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ALPINE SUMMIT ENERGY PARTNERS, § Case No. 23-90739 (MI)
INC., et al.                   §
                               § (Jointly Administered)
             Debtors.3         §
                               §
                               §

                  FIRST AMENDED PLAN SUPPLEMENT FOR THE DEBTORS’
                         JOINT CHAPTER 11 PLAN OF LIQUIDATION

                                           TABLE OF CONTENTS

    Exhibit Description

       3       Amended Notice Regarding Establishment of Claims Reserve

               Redline to Notice Regarding Establishment of Claims Reserve Filed with the Plan
     3-A
               Supplement

       7       Amended Notice of DIP Paydown Allocation

       Each of the documents contained in the First Amended Plan Supplement or its amendments
are subject to material change and revision based on ongoing negotiations or may be subject to
various other qualification, conditions, or limitations. A redline to Exhibit 3 of the Plan
Supplement is attached hereto as Exhibit 3-A.




3
    The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
    number, are Alpine Summit Energy Partners, Inc. (3755), HB2 Origination, LLC (6760), Ageron Energy II, LLC
    (1436), Ironroc Energy Partners, LLC (9801), Ageron Ironroc Energy, LLC (N/A), Alpine Summit Energy Investors,
    Inc. (4428), and Alpine Carbon, LLC (N/A). The location of the Debtors’ service address is: P.O. Box 158689,
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